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 1                                                                       Hon. Richard A. Jones

 2

 3                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 4
                                         AT SEATTLE
 5
     GAVEN PICCIANO,
 6                                                      NO. 3:20-cv-06106-RAJ
                               Plaintiff,
 7                                                      MINUTE ORDER ON
          vs.                                           JOINT MOTION FOR STAY
 8
     CLARK COUNTY, CLARK COUNTY JAIL,
 9   WELLPATH, LLC, and NAPHCARE, INC.
10                             Defendants.
11

12          The clerk issues the following minute order by the authority of the Honorable
13   Richard A. Jones, United States District Court Judge.
            THIS MATTER comes before the Court upon the parties’ Joint Motion for Stay
14
     and Extension of Deadlines. Dkt. # 38. Having considered the motion, and the files and
15
     pleadings herein, the Court GRANTS IN PART and DENIES IN PART the Joint Motion.
16   The Court declines to stay this matter and instead VACATES the trial date and all
17   remaining pretrial deadlines until such time as the Court rules on the pending Motion to

18   Dismiss. After the Court enters an order on Defendant Wellpath, LLC’s Motion to
     Dismiss, the Court will seek input from the parties before entering a revised case
19
     scheduling order.
20
            DATED this 21st day of June, 2021.
21
                                               WILLIAM M. McCOOL,
22                                             Clerk of the Court
23
                                                /s/ Victoria Ericksen
                                               Deputy Clerk to Hon. Richard A. Jones


      MINUTE ORDER – 1
